                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                   Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE            )
 KANE, JASON YEPKO, GUN               )
 OWNERS OF AMERICA, INC.,             )
 GUN OWNERS FOUNDATION,               )
 GRASS ROOTS NORTH                    )
 CAROLINA, and RIGHTS WATCH           )
 INTERNATIONAL,                       )
                                      )
                  Plaintiffs,         )
                                      )
 v.                                   )
                                      )
SHERIFF GARRY MCFADDEN, in            )
his official capacity as Sheriff of   )
Mecklenburg County, and the           )
MECKLENBURG COUNTY                    )
SHERIFF’S OFFICE                      )
                                      )
                  Defendants.         )
      EXHIBIT LIST FOR DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION


EXHIBIT 1        DECLARATION OF TAMARA RHODE

EXHIBIT 1A       CHP APPLICATION

EXHIBIT IB       SP FORM 914
